       Case 3:12-md-02330-EMC Document 514 Filed 03/08/18 Page 1 of 17



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11
                                  UNITED STATES DISTRICT COURT
12
                                 NORTHERN DISTRICT OF CALIFORNIA
13

14   In re                                           No. C-12-md-2330-EMC
15   CARRIER IQ, INC. CONSUMER PRIVACY               CASE MANAGEMENT STATEMENT
     LITIGATION                                      PURSUANT TO COURT’S ORDER OF
16                                                   MARCH 1, 2018
17
     This Document Relates to:
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     ALL CASES
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     CASE MANAGEMENT STATEMENT
     Case No.: C-12-md-2330-EMC
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 1             The parties respectfully submit this Case Management Statement in response to the Court’s

 2   order of March 1, 2018. (Dkt. No. 508.)

 3             Plaintiffs’ statement
 4             As the Court will recall, it granted final approval to a nationwide class settlement of

 5   plaintiffs’ claims on August 25, 2016. (Dkt. No. 481.) It also issued an Order Granting in Part and

 6   Denying in Part Plaintiffs’ Motion for Award of Attorneys’ Fees, Costs, Expenses, and Service

 7   awards, as well as the Judgment terminating this matter, that same day. (Dkt. Nos. 483 and 485.) In

 8   its final approval order, it overruled objections from three individuals. (Dkt. No. 481 at 7-8.) Two

 9   of these objectors, Sam Miorelli and Patrick Sweeney, filed notices of appeal, Dkt. Nos. 4881 and

10   489, respectively, on September 23, 2016 (Miorelli) and September 26, 2016 (Sweeney).

11             The Ninth Circuit dismissed Sweeney’s appeal on February 2, 2018, for failure to pay fees or

12   prosecute. Order, In re: Carrier iQ Consumer Litig., No. 16-16817, 2017 WL 4574828 (9th Cir.

13   Feb. 8, 2017).

14             The Ninth Circuit docketed Miorelli’s Appeal on October 7, 2016. (Dkt. No. 1, In re:

15   Carrier iQ Consumer Litig., No. 16-16816 (Miorelli Appeal).) After arranging to have the Excerpts

16   of Record transmitted to that court, Miorelli Appeal Dkt. No. 10, Miorelli submitted his appellant’s

17   brief on February 17, 2017, Miorelli Appeal Dkt. No. 12.

18             The matter was then referred to the Circuit Mediator, Miorelli Appeal Dkt. Nos. 17-20, 22-

19   24, and further briefing was placed on hold as Class Counsel and Miorelli endeavored to determine,

20   with the Circuit Mediator’s able assistance, whether Miorelli’s appeal could be settled, see generally

21   id.

22             On September 21, 2017, Class Counsel, on behalf of plaintiffs-appellees, agreed to settle

23   Miorelli’s appeal for $25,000 (Settlement Sum), with each side to bear its own costs and fees,

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26        Miorelli’s notice of appeal indicated that he was appealing from the Court’s Order Granting
     Final Approval of Class Action Settlement, Certification of Settlement Class, and Appointment of
27   Class Representatives and Class Counsel; the Court’s Order Granting in Part and Denying in Part
     Plaintiffs’ Motion for Award of Attorneys’ Fees, Costs, Expenses, and Service Awards, and the
28   Judgment. (Id.)
     CASE MANAGEMENT STATEMENT - 1
     Case No.: C-12-md-2330-EMC
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 1   pursuant to Fed. R. App. P. 42(b) (“The circuit clerk may dismiss a docketed appeal if the parties file

 2   a signed dismissal agreement specifying how costs are to be paid and pay any fees that are due.”).

 3            The settlement of Miorelli’s appeal (Settlement) contemplates that the settlement sum will be

 4   paid from plaintiffs’ attorneys’ fee award. But because the Court made this fee award to Class

 5   Counsel, the Settlement also sets forth the condition that such payment will only be made if this

 6   Court approves the payment from Class Counsel’s fee award. See Miorelli Appeal Dkt. No. 24

 7   (Ninth Cir. order attached as Exhibit 1).

 8            In light of the foregoing, Miorelli has dismissed his appeal against plaintiffs-appellees

 9   conditionally. (See Miorelli Appeal Dkt. No. 23.) If this Court does not approve the payment from

10   Class Counsel’s fee award, or if other possibilities come to pass, see Ex. 1 hereto, then the

11   Settlement may be extinguished, in which case the parties would return to the Ninth Circuit to

12   complete adjudication of Miorelli’s appeal. (See id.)

13            The parties also wish to apprise the Court of the bankruptcy of defendant Pantech Wireless,

14   Inc., which occurred well after judgment was entered in this matter and well after Pantech deposited

15   its share of the underlying settlement sum into escrow pending disbursal pursuant to the Court’s final

16   approval order. While Class Counsel made inquiry and was advised that Pantech had no objection to

17   the Settlement or to the conditional dismissal of Miorelli’s appeal, as evidenced by its signature on

18   Miorelli’s stipulated notice of conditional dismissal, Miorelli Appeal Dkt. No. 23, nonetheless, in an

19   abundance of caution, Class Counsel engaged bankruptcy counsel and sought relief from the

20   automatic stay in Pantech’s bankruptcy, which was filed in the Northern District of Georgia. This

21   request was granted. See Order, In re Pantech Wireless, Inc., No. 16-bk-72088 (Bankr. N.D. Ga.

22   Feb. 7, 2018) (Dkt. No. 68) (attached as Exhibit 2). The bankruptcy court’s order provides

23   specifically, inter alia, that the automatic stay shall not bar or affect the conditional dismissal of

24   Miorelli’s Ninth Circuit appeal, these proceedings, or disbursal of cash settlement funds to settlement

25   class members in the underlying matter. See id.

26            Class Counsel have asked Miorelli to compile the reasonable attorneys’ fees, costs, and

27   expenses he has incurred to-date in his appeal. In response, he has filed a declaration setting these

28   forth.
     CASE MANAGEMENT STATEMENT - 2
     Case No.: C-12-md-2330-EMC
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 1            Also, Miorelli and Class Counsel have filed a stipulated request that the Court approve

 2   payment of the Settlement Sum to Miorelli from the attorneys’ fees awarded to Class Counsel.

 3            The parties are preapared to appear at the case management conference currently scheduled

 4   for March 15, 2018 and answer any questions that the Court may have regarding the items raised

 5   herein. However, if the Court does not have any questions, and approves the stipulated request, then

 6   the parties to the Settlement will move forward toward its full consummation, assuming that no

 7   conditions occur which lead to plaintiff-appellees’ withdrawal from the Settlement. Thereafter,

 8   Miorelli’s appeal will be dismissed with finality, as will the defendants-appellants’2 appeals from this

 9   Court’s decision denying their request to refer the incorporated matters to arbitration. (See Kenny v.

10   Carrier iQ Inc., No. 14-15843 (9th Cir., filed Apr. 30, 2014); Kenny v. Carrier iQ Inc., No. 14-

11   15846 (9th Cir., filed Apr. 30, 2014).) Once the Effective Date accrues under the underlying

12   settlement agreement, then, per the Court’s final approval order, disbursal of settlement benefits to

13   all concerned can begin, and the settlement administrator can pay Miorelli out of Class Counsel’s fee

14   award.

15            Most importantly, the settlement administrator will then be able to proceed with disbursing

16   cash settlement benefits to settlement class members who made valid, payable claims, all without the

17   additional time it would have taken to fully resolve Miorelli’s appeal on the merits.

18            Defendants’ statement
19            Defendants take no position with respect to the terms of the plaintiffs-appellees’ Settlement

20   with Miorelli. However, defendants also do not oppose entry of the stipulated request made by

21   plaintiffs-appellees and Miorelli to pay him the Settlement Sum from the attorneys’ fees awarded to

22   Class Counsel by the Court.

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           This reference does not include Motorola, which did not file a motion to refer the case against it
28   to arbitration, such that it did not appeal, either.
     CASE MANAGEMENT STATEMENT - 3
     Case No.: C-12-md-2330-EMC
       Case 3:12-md-02330-EMC Document 514 Filed 03/08/18 Page 5 of 17



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     Case No.: C-12-md-2330-EMC
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     CASE MANAGEMENT STATEMENT - 5
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     Case No.: C-12-md-2330-EMC
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     CASE MANAGEMENT STATEMENT - 7
     Case No.: C-12-md-2330-EMC
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 1                                        FILER’S ATTESTATION
 2          Pursuant to Civil L.R. 5-1(i)(3), I hereby attest that concurrence in the filing of this document
 3   has been obtained from the above signatories.
 4

 5
     DATED: March 8, 2018                      By:            /s/ Daniel L. Warshaw
 6                                                            DANIEL L. WARSHAW

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     CASE MANAGEMENT STATEMENT - 8
     Case No.: C-12-md-2330-EMC
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   EXHIBIT 1
        Case
           Case:
             3:12-md-02330-EMC
                 16-16816, 02/22/2018,
                                  Document
                                       ID: 10774137,
                                             514 Filed
                                                     DktEntry:
                                                       03/08/1824, Page
                                                                   Page 11
                                                                        1 ofof217

                       UNITED STATES COURT OF APPEALS
                                                                                FILED
                                                                                 FEB 22 2018
                                 FOR THE NINTH CIRCUIT
                                                                             MOLLY C. DWYER, CLERK
                                                                              U.S. COURT OF APPEALS


In re: CARRIER IQ, CONSUMER                         No.    16-16816
PRIVACY LITIGATION,
                                                    D.C. No. 3:12-md-02330-EMC
------------------------------                      Northern District of California,
                                                    San Francisco
 PATRICK KENNY, individually and on
behalf of himself and all others similarly
situated,                                           ORDER

               Plaintiff-Appellee,

 v.

SAM A. MIORELLI,

               Objector-Appellant,

   v.

CARRIER IQ, INC.; et al.,

               Defendants-Appellees.


        The purpose of the parties in entering this stipulation to dismiss without

prejudice is to return jurisdiction to the district court to seek its approval of the

Settlement Agreement which resolves this appeal.

        Pursuant to the stipulation of the parties, this appeal is dismissed without

prejudice to its reinstatement upon the occurrence of any of the Triggering

Occurrences as defined by the parties herein and the Objector-Appellant’s filing a

timely motion to reinstate.
         Case
            Case:
              3:12-md-02330-EMC
                  16-16816, 02/22/2018,
                                   Document
                                        ID: 10774137,
                                              514 Filed
                                                      DktEntry:
                                                        03/08/1824, Page
                                                                    Page 12
                                                                         2 ofof217

          Objector-Appellant must file a motion to reinstate this appeal within 28 days

of any of the following Triggering Occurrences, whichever occurs first:

          (1) Objector-Appellant’s written notice of disapproval of the draft

Stipulation [and Proposed Order] re: Appeal or motion prepared by counsel for

Plaintiffs-Appellees and the parties’ failure to reach an agreement on revisions to

that draft document that are mutually acceptable within ten days of the written

notice of disapproval;

          (2) The filing of any objection or opposition to the motion or stipulation

seeking district court approval of the Settlement Agreement or the filing of any

objection to, or appeal from, the district court approval of the Settlement

Agreement and the subsequent election in writing by counsel for Plaintiffs-

Appellees to rescind the Settlement Agreement; or

          (3) the district court filing an order declining to approve the Settlement

Agreement in full, including its conditional payment term.

          A copy of this order shall serve as the mandate of this court.

                                                  FOR THE COURT


                                                   By: Margaret A. Corrigan
                                                   Circuit Mediator
MAC/Mediation




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   EXHIBIT 2
       Case 3:12-md-02330-EMC Document 514 Filed 03/08/18 Page 14 of 17           
                                                     




    IT IS ORDERED as set forth below: 



    Date: February 7, 2018 
                                         _____________________________________
                                                     James R. Sacca 
                                               U.S. Bankruptcy Court Judge 

    _______________________________________________________________ 




              
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